

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. AP-76,287






EX PARTE MARLON A. WAGNER, Applicant








ON APPLICATION FOR A WRIT OF HABEAS CORPUS


CAUSE NO. 23650-A IN THE 3rd DISTRICT COURT


FROM ANDERSON COUNTY






	Per curiam.


O P I N I O N



	Pursuant to the provisions of Article 11.07 of the Texas Code of Criminal Procedure, the
clerk of the trial court transmitted to this Court this application for a writ of habeas corpus.  Ex parte
Young, 418 S.W.2d 824, 826 (Tex. Crim. App. 1967).  Applicant was convicted of aggravated
robbery and sentenced to thirty-five years' imprisonment. 

	Applicant contends that his counsel rendered ineffective assistance because he failed to
timely file a notice of appeal.  We remanded this application to the trial court for findings of fact and
conclusions of law.

	The trial court has determined that trial counsel failed to timely file a notice of appeal.  We
find, therefore, that Applicant is entitled to the opportunity to file an out-of-time appeal of the
judgment of conviction in Cause No. 23650-A from the 3rd Judicial District Court of Anderson
County.  Applicant is ordered returned to that time at which he may give a written notice of appeal
so that he may then, with the aid of counsel, obtain a meaningful appeal.  All time limits shall be
calculated as if the sentence had been imposed on the date on which the mandate of this Court issues. 
We hold that, should Applicant desire to prosecute an appeal, he must take affirmative steps to file
a written notice of appeal in the trial court within 30 days after the mandate of this Court issues.


Delivered: February 10, 2010

Do Not Publish


